Case 1:20-cv-25144-DPG Document 270 Entered on FLSD Docket 10/16/2023 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                          Case No. 1:20-cv-25144-GAYLES/TORRES

  JETAIRE AEROSPACE, LLC,                    )
                                             )
         Plaintiff/Counter-Defendant,        )
                                             )
  v.                                         )
                                             )
  AERSALE, INC.,                             )
                                             )
         Defendant/Counter-Plaintiff,        )
                                             )
  v.                                         )
                                             )
  JETAIRE AEROSPACE, LLC,                    )
  JETAIRE FLIGHT SYSTEMS, LLC,               )
  and MICHAEL WILLIAMS,                      )
                                             )
        Counter-Defendants.                  )
  ____________________________________


                   JOINT MOTION TO MODIFY SCHEDULING ORDER

         The parties hereby move the Court for a modification to deadlines in the Ninth and Tenth

  Amended Scheduling Orders (ECF Nos. 191, 218, 265), as follows:

                     Event                         Current Date            Proposed Date

   Deadline to exchange pretrial disclosures     October 17, 2023     December 1, 2023
   (Witness List, Exhibit List, and Deposition
   Designations for witnesses unavailable for
   trial) by the Party with the Burden of Proof.
   Deadline to exchange pretrial disclosures     October 23, 2023     December 1, 2023
   (Witness List, Exhibit List, and Deposition
   Designations for witnesses unavailable for
   trial) by the Party without the Burden of
   Proof.
   Deadline to exchange objections to pretrial   October 23, 2023     December 15, 2023
   disclosures previously disclosed by the party
   with the Burden of Proof.
Case 1:20-cv-25144-DPG Document 270 Entered on FLSD Docket 10/16/2023 Page 2 of 4




   Deadline to exchange objections to pretrial     October 30, 2023        December 15, 2023
   disclosures previously disclosed by the party
   without the Burden of Proof.
   Joint pretrial stipulation, proposed joint jury November 6, 2023        January 10, 2024
   instructions, proposed joint verdict form,
   and/or proposed findings of fact and
   conclusions of law shall be filed by
   Calendar Call                                   November 29,            February 7, 2024,
                                                   2023, 9:30 a.m.         9:30 a.m.
   Jury Trial                                      December 4, 2023        February 12, 2024


         The purpose of this extension is not to delay, but instead to permit this Court time to resolve

  the parties’ currently pending motions which will materially influence pretrial preparations in this

  matter, as well as to permit Defendants time to account for Counter-Defendants’ answer the

  Counter-Claims in accordance with the forthcoming Order granting, in part, and denying, in part,

  Plaintiff/Counter-Defendants’ Motion to Dismiss [ECF No. 164].
Case 1:20-cv-25144-DPG Document 270 Entered on FLSD Docket 10/16/2023 Page 3 of 4




         WHEREFORE, the parties request that the Court grant this motion and modify the

  Scheduling Order in accordance with the proposal above.

   /s/ Jonathan L. Hardt (with permission)       /s/ Amelia Toy Rudolph
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   Counsel for Plaintiff/Counter-Defendant
   Jetaire Aerospace, LLC and Counter-
   Defendants Jetaire Flight Systems, LLC and
   Michael Williams
Case 1:20-cv-25144-DPG Document 270 Entered on FLSD Docket 10/16/2023 Page 4 of 4




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 16, 2023, the foregoing Joint Motion to Modify

  Scheduling Order was electronically filed with the Clerk of Court using the CM/ECF filing

  system. I further certify that the foregoing document was served on all counsel of record via

  transmission of the Notice of Electronic Filing generated by the Court’s CM/ECF system.


                                                    /s/ Amelia Toy Rudolph
                                                    Amelia Toy Rudolph
                                                    Florida Bar No. 57015
